                                        Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 1 of 22


                                    1   THE GALLIHER LAW FIRM
                                        Keith E. Galliher, Jr., Esq.
                                    2   Nevada Bar No. 220
                                    3   Jeffrey L. Galliher, Esq.
                                        Nevada Bar No. 8078
                                    4   1850 East Sahara Avenue, Suite 107
                                        Las Vegas, Nevada 89104
                                    5   Telephone: (702) 735-0049
                                        Facsimile: (702) 735-0204
                                    6   kgalliher@galliherlawfirm.com
                                    7   jgalliher@galliherlawfirm.com
                                        Attorneys for Plaintiff
                                    8                                              --o0o--

                                    9                              UNITED STATES DISTRICT COURT
                                   10                                        DISTRICT OF NEVADA
                                   11
                                                                                             CASE NO.: 2:18-cv-01717-RFB-BNW
1850 E. Sahara Avenue, Suite 107

 702-735-0049 Fax: 702-735-0204
 THE GALLIHER LAW FIRM




                                   12    DUKE THOMAS NGUYEN,
    Las Vegas, Nevada 89104




                                   13    Plaintiff,
                                   14
                                         v.
                                   15
                                         PTS OF AMERICA, LLC, A Foreign Limited
                                   16    Liability Company; U.S. CORRECTIONS, LLC,
                                         A Foreign Limited Liability Company; JACOB
                                   17
                                         EVETTS, an Individual; RYAN RIVERA, an
                                   18    Individual; ZACHARY BRANDON, an
                                         Individual; MICHAEL COLEMAN, an
                                   19    Individual; TRANSPORTATION EMPLOYEES
                                         DOE 1- 10; DOES 11-99 inclusive, ROE
                                   20    CORPORATIONS 100-199, inclusive,
                                   21
                                         Defendants.
                                   22

                                   23
                                                             NOTICE OF CORRECTED IMAGE/DOCUMENT
                                   24

                                   25
                                               COMES NOW, Plaintiff, DUKE THOMAS NGUYEN, by and through counsel of record
                                   26
                                        Jeffrey L. Galliher of THE GALLIHER LAW FIRM and submits this notice of corrected
                                   27

                                   28
                                                                                     1
                                        Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 2 of 22


                                    1
                                        image/document. Plaintiff inadvertently submitted his motion with the incorrect case number of 2:18-
                                    2
                                        cv-01717-RFB-PAL when is should read 2:18-cv-01717-RFB-BNW.
                                    3

                                    4          DATED this 5th day of September, 2019.
                                    5                                                        THE GALLIHER LAW FIRM
                                    6
                                                                                             /s/ Jeffrey L. Galliher, Esq.
                                    7                                                        ______________________________
                                                                                             Jeffrey L. Galliher, Esq.
                                    8                                                        Nevada Bar No. 8078
                                                                                             1850 E. Sahara Ave., Suite 107
                                    9                                                        Las Vegas, NV 89104
                                   10                                                        Attorneys for Plaintiff

                                   11
1850 E. Sahara Avenue, Suite 107

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                                   12
    Las Vegas, Nevada 89104




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                                        Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 3 of 22


                                    1   THE GALLIHER LAW FIRM
                                        Keith E. Galliher, Jr., Esq.
                                    2   Nevada Bar No. 220
                                    3   Jeffrey L. Galliher, Esq.
                                        Nevada Bar No. 8078
                                    4   1850 East Sahara Avenue, Suite 107
                                        Las Vegas, Nevada 89104
                                    5   Telephone: (702) 735-0049
                                        Facsimile: (702) 735-0204
                                    6   kgalliher@galliherlawfirm.com
                                    7   jgalliher@galliherlawfirm.com
                                        Attorneys for Plaintiff
                                    8                                              --o0o--

                                    9                              UNITED STATES DISTRICT COURT
                                   10                                        DISTRICT OF NEVADA
                                   11
                                                                                             CASE NO.: 2:18-cv-01717-RFB-BNW
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 THE GALLIHER LAW FIRM




                                   12    DUKE THOMAS NGUYEN,
    Las Vegas, Nevada 89104




                                   13    Plaintiff,
                                   14
                                         v.
                                   15
                                         PTS OF AMERICA, LLC, A Foreign Limited
                                   16    Liability Company; U.S. CORRECTIONS, LLC,
                                         A Foreign Limited Liability Company; JACOB
                                   17
                                         EVETTS, an Individual; RYAN RIVERA, an
                                   18    Individual; ZACHARY BRANDON, an
                                         Individual; MICHAEL COLEMAN, an
                                   19    Individual; TRANSPORTATION EMPLOYEES
                                         DOE 1- 10; DOES 11-99 inclusive, ROE
                                   20    CORPORATIONS 100-199, inclusive,
                                   21
                                         Defendants.
                                   22

                                   23
                                                           MOTION TO ALLOW SERVICE BY PUBLICATION
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                                        Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 4 of 22


                                    1
                                               COMES NOW, Plaintiff, DUKE THOMAS NGUYEN, by and through counsel of record
                                    2
                                        Jeffrey L. Galliher of THE GALLIHER LAW FIRM and submits to this Honorable Court this Motion
                                    3
                                        to Allow Service by Publication.
                                    4
                                               This Motions is made and based on F.R.C.P. 4, 6 and 7(b) and is supported by the affidavit of
                                    5
                                        Jeffrey L. Galliher, Esq. counsel for Plaintiff, Exhibit “1.”
                                    6

                                    7          DATED this 4th day of September, 2019.
                                    8                                                           THE GALLIHER LAW FIRM
                                    9
                                                                                                /s/ Jeffrey L. Galliher, Esq.
                                   10                                                           ______________________________
                                                                                                Jeffrey L. Galliher, Esq.
                                   11                                                           Nevada Bar No. 8078
                                                                                                1850 E. Sahara Ave., Suite 107
1850 E. Sahara Avenue, Suite 107

 702-735-0049 Fax: 702-735-0204
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                                   12                                                           Las Vegas, NV 89104
    Las Vegas, Nevada 89104




                                   13                                                           Attorneys for Plaintiff

                                   14                                                      I.

                                   15                                       FACTUAL BACKGROUND
                                   16          On or about May 6, 2019, Plaintiff his Second Amended Complaint against the Defendants

                                   17   PTS OF AMERICA, LLC, U.S. CORRECTIONS, LLC, JACOB EVETTS, RYAN RIVERA,

                                   18   ZACHARY BRANDON, and MICHAEL COLEMAN.

                                   19          Initially it was understood that Thorndal Armstrong Delk Balkenbush & Eisenger were in

                                   20   agreement in accepting service on behalf of all parties. (Exhibit 2) However, once the Second

                                   21   Amended Complaint was filed, it was made known that they were only accepting service on behalf of

                                   22   PTS of America and that Hall Jaffe Clayton would be representing U.S. Corrections and its employees,

                                   23   the remaining defendants. (Exhibit 3)

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                                        Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 5 of 22


                                    1
                                                   Plaintiff sent the Second Amended Complaint and Summons out for service and in the
                                    2
                                        meantime communicated with Hall Jaffe & Clayton regarding acceptance of service on behalf of their
                                    3
                                        clients.
                                    4
                                                   On June 27, 2019, Plaintiff reached out to opposing counsel Hall, Jaffe & Clayton, LLP to
                                    5
                                        communicate regarding accepting service on behalf of U.S. Corrections and its employees due to the
                                    6
                                        fact that they reside out of state in Florida and Tennessee. (Exhibit 4)
                                    7
                                                   On July 17, 2019 and July 25, 2019, Plaintiff again reached out to opposing counsel Hall, Jaffe
                                    8
                                        & Clayton, LLP anticipating some type of response which never happened. (Exhibit 5 & 6)
                                    9
                                                   In the meantime, Plaintiff engaged a professional process server to effect service on the U.S.
                                   10
                                        Corrections defendants.
                                   11
                                                   Plaintiff has served defendants PTS of America, LLC and Mark Coleman, Jacob Evetts, and
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                                   12
                                        Ryan Rivera. Only the individual service of the remaining Defendant is pending.
    Las Vegas, Nevada 89104




                                   13
                                                   Plaintiff has been diligently working with the process server out of Tennessee. Plaintiff has
                                   14
                                        been unsuccessful not only in serving the remaining defendant Zachary Brandon, but the lack of
                                   15
                                        communication from the Tennessee processer server has left us at a standstill. (See Exhibit 7)
                                   16
                                                   Plaintiff respectfully requests the court to extend time and allow for service by publication on
                                   17
                                        the remaining Defendant.
                                   18

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                                        Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 6 of 22


                                    1                                                    II
                                    2                                              ARGUMENT
                                    3
                                            A. The Court May Authorize Service by Publication
                                    4
                                                Rule 4 of the Nevada Rules of Civil Procedure governs service by publication. In
                                    5
                                         particular, N.R.C.P.4.(e)(l)(i) states:
                                    6
                                                (i)    General.        In addition to methods of personal service, when the person on
                                    7
                                                       whom service is to be made resides out of the state, or has departed from the state,
                                    8                  or cannot, after due diligence, be found within the state, or by concealment seeks
                                                       to avoid the service of summons, and the fact shall appear, by affidavit, to the
                                    9                  satisfaction of the court or judge thereof, and it shall appear, either by affidavit or
                                                       by a verified complaint on file, that a cause of action exists against the defendant
                                   10                  in respect to whom the service is to be made, and that the defendant is a necessary
                                                       or proper party to the action, such court or judge may grant an order that the service
                                   11
                                                       be made by the publication of summons.
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                                   12
    Las Vegas, Nevada 89104




                                   13                  Provided, when said affidavit is based on the fact that the party on whom service is
                                                       to be made resides out of the state, and the present address of the party is
                                   14                  unknown, it shall be a sufficient showing of such fact if the affiant shall state
                                   15                  generally in such affidavit that at a previous time such person resided out of this
                                                       state in a certain place (naming the place and stating the latest date known to
                                   16                  affiant when such party so resided there); that such place is the last place in
                                                       which such party resided to the knowledge of affiant; that such party no longer
                                   17                  resides at such place; that affiant be found; and that affiant does not know and
                                                       has never been informed and has no reason to believe that such party now
                                   18                  resides in this state; and, in such case, it shall be presumed that such party still
                                   19                  resides and remains out of the state, and such affidavit shall be deemed to be a
                                                       sufficient showing of due diligence to find the defendant. This rule shall apply
                                   20                  to all manner of civil actions, including those for divorce.

                                   21           (ii)   Publication. The order shall direct the publication to be made in a newspaper,
                                                       published in the State of Nevada, to be designated by the court or judge thereof,
                                   22
                                                       for a period of 4 weeks, and at least once a week during said time. In addition
                                   23                  to in- state publication, where the present residence of the defendant is unknown
                                                       the order may also direct that publication be made in a newspaper published
                                   24                  outside the State of Nevada whenever the court is of the opinion that such
                                                       publication is necessary to give notice that is reasonably calculated to give a
                                   25
                                                       defendant actual notice of the proceedings. In case of publication, where the
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                                        Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 7 of 22


                                    1                     residence of a nonresident or absent defendant is known, the court or judge shall
                                                          also direct a copy of the summons and complaint to be deposited in the post
                                    2                     office, directed to the person to be served at the person's place of residence.
                                    3                     The service of summons shall be deemed complete in cases of publication at
                                                          the expiration of 4 weeks from the first publication, and in cases when a deposit
                                    4                     of a copy of the summons and complaint in the post office is also required, at
                                                          the expiration of 4 week from such deposit.
                                    5

                                    6          B.      The Court Should Extend the Time for Plaintiff to Serve Defendants
                                    7          FRCP4(m) provides:
                                    8
                                                       (i)     Summons:         TIME LIMIT FOR SERVICE. If a defendant is
                                    9                          not served within 90 days after the complaint is filed, the court—
                                                               on motion or on its Rule 4 FEDERAL RULES OF CIVIL
                                   10                          PROCEDURE 6 own after notice to the plaintiff—must dismiss
                                                               the action without prejudice against that defendant or order that
                                   11
                                                               service be made within a specified time. But if the plaintiff
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                                   12                          shows good cause for the failure, the court must extend the time
    Las Vegas, Nevada 89104




                                                               for service for an appropriate period. This subdivision (m) does
                                   13                          not apply to service in a foreign country under Rule 4(f), 4(h)(2),
                                                               or 4(j)(1), or to service of a notice under Rule 71.1(d)(3)(A).
                                   14
                                               In Scrimer v. Eighth Judicial District Court, 116 Nev. 507, 998 P. 2d 1190 (2000), the
                                   15
                                        Supreme Court of Nevada set forth ten factors for consideration when determining whether good
                                   16
                                        cause exists in such cases with respect to NRCP 4. Of relevance in the instant matter are the
                                   17
                                        following factors: (1) difficulties in locating the defendant, (3) the plantiff’s diligence in attempting
                                   18
                                        to serve the defendant, (4) difficulties encountered by counsel (7) the lapse of time between the end
                                   19
                                        of the 90 day period and the actual service of process on the defendant (8) the fact that the Defendants
                                   20
                                        will not be and have not been prejudiced by the requested extension of time. As outlined above, it is
                                   21
                                        clear that Plaintiff is working diligently to effectuate service of the Summons and Second Amended
                                   22
                                        Complaint, Plaintiff has clearly demonstrated that good cause exists and allow Plaintiff to serve the
                                   23
                                        remaining defendant by publication.
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                                        Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 8 of 22


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                                                                                        III.
                                    2
                                                                                 CONCLUSION
                                    3
                                               In light of the foregoing Application, Point and Authorities, the Affidavit of Due Diligence,
                                    4
                                        and the papers and pleadings on file herein, Plaintiff respectfully request this Court grant an Order
                                    5
                                        allowing Plaintiff to Serve the remaining Defendant by Publication.
                                    6
                                               DATED this 4th day of September, 2019.
                                    7

                                    8                                                          THE GALLIHER LAW FIRM

                                    9                                                          /s/ Jeffrey L. Galliher, Esq.
                                                                                               ______________________________
                                   10                                                          Jeffrey L. Galliher, Esq.
                                                                                               Nevada Bar No. 8078
                                   11                                                          1850 E. Sahara Ave., Suite 107
1850 E. Sahara Avenue, Suite 107

 702-735-0049 Fax: 702-735-0204




                                                                                               Las Vegas, NV 89104
 THE GALLIHER LAW FIRM




                                   12
                                                                                               Attorneys for Plaintiff
    Las Vegas, Nevada 89104




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Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 9 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 10 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 11 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 12 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 13 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 14 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 15 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 16 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 17 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 18 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 19 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 20 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 21 of 22
Case 2:18-cv-01717-RFB-BNW Document 64 Filed 09/05/19 Page 22 of 22
